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 3
                           UNITED STATES DISTRICT COURT
 4
                         CENTRAL DISTRICT OF CALIFORNIA
 5
      MICHAEL BROWN,                              )     Case No. 2:20-cv-04401-MWF-JC
 6
                          Plaintiff,              )
                                                        ORDER TO DISMISS WITH
 7                                                )     PREJUDICE
            v.                                    )
 8
      WELLS FARGO BANK, N.A.,                     )
 9                                                )
                          Defendant.              )
10

11

12          IT IS HEREBY ORDERED that pursuant to the Stipulation of the Parties,
13    this matter is dismissed in its entirety with prejudice pursuant to Federal Rule of
14    Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own costs and
15    attorneys’ fees.
16

17    Dated: January 11, 2021
                                               MICHAEL W. FITZGERALD
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                                               United States District Judge
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                                         Order to Dismiss - 1
